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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF OKLAHOMA

SUZETTE GRILLOT,                                 )
                                                 )
               Plaintiff,                        )
                                                 )
v.                                               )       Case No. CIV-19-0241-J
                                                 )
STATE OF OKLAHOMA ex rel.,                       )
UNIVERSITY OF OKLAHOMA BOARD                     )
OF REGENTS, et al.                               )
                                                 )
               Defendants.                       )

                                            ORDER

       Plaintiff seeks permission to file a motion to compel under seal and Defendants do not

object. [Doc. No. 56].1 The Court GRANTS the motion and Plaintiff’s motion to compel,

Defendants’ response, and Plaintiff’s reply, if necessary, shall be filed under seal. However, the

Court cautions the parties that to the extent Plaintiff’s motion relates to discovery disputes, the

parties must comply with this Court’s meet and confer requirements. See LCvR. 37.1. This Court

expects the parties to resolve discovery disputes without the Court’s intervention and will not

hesitate to award attorney fees or impose other sanctions if it finds that discovery disputes have

unnecessarily wasted judicial resources.

       IT IS SO ORDERED this 11th day of August, 2020.




1
  Plaintiff filed an “unopposed” motion but failed to include information regarding Defendants’
objection or non-objection. [Doc. No. 55]. Plaintiff then filed an amended motion to specifically
note that the Defendants did not object. [Doc. No. 56]. Plaintiff’s initial motion, [Doc. No. 55],
is DENIED as moot.
